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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHEIW DISTRICT OF GEORGIA
                                                         m\                      JAH 12 P 2: 5U
                             STATESBORO DIVISION
                                                                                sJ-Hodc                            A
                                                                               so. DIS i'. Ur                      A ,




ANDREW DENNIS HAMMOND, JR.,

               Plaintiff,                                 CIVIL ACTION NO.: 6:18-cv-118

        V.


 GREGORY C. DOZIER, et al., in their official
 capacities.

               Defendants.


                                          ORDER

       After an independent and de novo review of the entire record, the undersigned concurs with

the Magistrate Judge’s Report and Recommendation, doc. 20. Plaintiff did not file Objections to

the Report and Recommendation.

       Accordingly, the Court ADOPTS the Magistrate Judge’s Report and Recommendation as

the opinion of the Court. The Court DISMISSES Plaintiffs Amended Complaint, DENIES as

moot Plaintiffs request for injunctive relief, DIRECTS the Clerk of Court to CLOSE this case

and enter the appropriate judgment of dismissal, and DENIES Plaintiff in forma pauperis status

on appeal.

       SO ORDERED, this       /^^^day of January, 2021.

                                                /


                                     J. RAN         L WALL. CHIEF JUDGE
                                     UNITEp/STATES DISTRICT COURT
                                     se   -lERN DISTRICT OF GEORGIA
